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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                        CRIMINAL FILE NO.
        v.                              1:11-CR-255-1-TWT
 QUENTIN BOOKER, et al.,
   Defendants.


                                   ORDER

      This is a criminal action.   It is before the Court on the Report and

Recommendation [Doc. 487] of the Magistrate Judge recommending denying the

Defendant Dooley’s Motion to Suppress [Doc. 212]. The Court approves and adopts

the Report and Recommendation as the judgment of the Court. The Defendant

Dooley’s Motion to Suppress [Doc. 212] is DENIED.

      SO ORDERED, this 13 day of June, 2013.



                              /s/Thomas W. Thrash
                              THOMAS W. THRASH, JR.
                              United States District Judge
